Case 2:18-cr-01378 Document 19 Filed in TXSD on 12/12/18 Page |EL of 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U.S. Department of Justice Criminal Docket
Washington, D.C. Presented in Corpus Christi
Corpus Christi Division
Magistrate No.: C-18-522QM C _ j § il §§ W @
File; rNDICTMENT ` _ CR. No.; 5
Filed: December 12', 2018 1
County: Brooks _ l
~ JUDGE NELVA G()NZALES RAMOS
LIONS #: 2018R44683 Judge:
Attorneys:
United States of America RYAN K. PATRICK, U.S. ATTORNEY
JASON B. SUPPLEE. ASST. U.S. ATTORNEY
V_ GRAND JURY ACTION APP‘D RET
y PLEASE INITIAL
' CMSTIAN RAMIREZ
' TRUE BILL:

FRANK SILVA

NO BILL: _
IRMA ZAMORA '
Charge(s): Ct. l:- Did knowingly and intentionally conspire to transport an undocumented

alien Within the United States:
8 USC l324(a)(ll(A)(ii) l324(al(ll(A)(Vl(I) and 1324(a)(l)(B)(il.

 

 

Ct. 2: Did transport move attempt to transport and attempt to move! an
undocumented alien Within the United States:
8 USC 1324(al(1)(A)(11) 1324(a)(l)(A)(v)(II) and l324(a)(l)(B)(11)

Penalty: Ct. l: Not more than 10 years imprisonment, or a fine of not more than $250,000, or
both; not more than 3 years SRT; a $100 Special Assessment and an additional

$5 000 Special Assessment.

Ct. 2: Not more than 5 years imprisonment or a fine of not more than

$250 000 or both; not more than 3 years SRT; a $100 Special Assessment; and an
additional $5 000 Special Assessment. i

In Jail: X (Defendant l & 2)
On Bond: X (Defendant #3)

l\lo Arrest:

 

 

